          Case 4:20-mj-01069-DLC Document 55 Filed 09/08/20 Page 1 of 2



                        UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF MASSACHUSETTS

IN THE MATTER OF                              )
THE EXTRADITION OF                            )       Case No. 20-mj-1069-DLC
MICHAEL L. TAYLOR                             )
                                              )
                                              )
IN THE MATTER OF                              )
THE EXTRADITION OF                            )       Case No. 20-mj-1070-DLC
PETER M. TAYLOR                               )


              [PROPOSED] CERTIFICATION OF MICHAEL L. TAYLOR AND
                         COMMITTAL FOR EXTRADITION

       WHEREAS, on August 28, 2020, this Court held an extradition hearing in the above-
captioned extradition proceedings; and

       WHEREAS, on September 4, 2020, this Court issued an Extradition Certification and
Order, after considering the evidence, including the certified and authenticated documents
submitted by the Government of Japan, and the pleadings and the arguments of the parties.

        NOW THEREFORE, the Court formally certifies to the Secretary of State for the United
States as follows:

         (1) This Court has jurisdiction over, and the undersigned is authorized to conduct,
extradition proceedings pursuant to 18 U.S.C. § 3184 and Rule 1(e) of the Rules for United States
Magistrate Judges in the United States District Court for the District of Massachusetts;

        (2) This Court has personal jurisdiction over Michael L. Taylor pursuant to 18 U.S.C. § 3184.
On May 6, 2020, this Court signed a complaint filed by the United States in response to the request
of the Government of Japan for Michael L. Taylor’s provisional arrest with a view towards his
extradition and issued a warrant for his arrest based on the complaint. On May 20, 2020, Michael
L. Taylor was found and arrested in this District pursuant to the warrant and complaint. On June
29, 2020, Japan submitted to the United States Department of State its formal request for Michael L.
Taylor’s extradition;

        (3) The extradition treaty between the United States and the Government of Japan, Treaty
on Extradition Between the United States of America and Japan, U.S.-Japan, Mar. 26, 1980, 31
U.S.T. 892 (“Treaty”), has been in full force and effect at all times relevant to the extradition
proceedings;

        (4) The Michael L. Taylor whose extradition is sought by the Government of Japan, and the
Michael L. Taylor who was arrested in this District and who appeared before the Court in the instant
extradition proceedings are one and the same person;

       (5) Japan seeks Michael L. Taylor’s extradition for the following offense: Enabling the
         Case 4:20-mj-01069-DLC Document 55 Filed 09/08/20 Page 2 of 2



escape of criminals under Article 103 of the Japanese Penal Code. That offense is included in the
Japanese arrest warrant for Michael L. Taylor that Japan submitted in support of its extradition
request;

        (6) The above-referenced Treaty between the United States and Japan encompasses the
offense for which the Government of Japan seeks Michael L. Taylor’s extradition; and

       (7) There is probable cause to believe that Michael L. Taylor committed the offense for
which extradition is sought.

        ACCORDINGLY, I certify the extradition of Michael L. Taylor to Japan on the offense for
which extradition was requested and commit him to the custody of the United States Marshals
Service pending further decision on extradition and surrender by the Secretary of State pursuant to
18 U.S.C. § 3186.

      FURTHER, I order that the Clerk of this Court forward a certified copy of this Certification
and Committal for Extradition to the Secretary of State via the below address.

ATTN: Amber Kluesener
U.S. Department of State
Office of the Legal Adviser for Law Enforcement and Intelligence
2201 C Street, NW, Room 4331
Washington, D.C. 20520

DATED:

                                              ________________________________
                                              UNITED STATES MAGISTRATE JUDGE
